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                          UNITED STATES DISTRICT COURT
                                 District of Colorado



   Civil Action No; 18          CV。01761       MSK‑NYW


   TIFFANY GRAYS

           P量ain傭埋




   AUTO MART USA, LLC., DANIEL RAMIREZ, JORGE PACHECO, JB
   OVALLE, MARCO SANDOVAL, DONNIE MCELROY AND JAY
   BARBER.

           De飴亜d貧輪tS.




                                           AFFIDAVIT


   1.   I have personal knowledge ofthe matters contained in this A鎖davit.



   2.   My name is Daniel Ramirez.


   3.   I checked Promax on November 7, 2019 at the request ofattomey Michael McKimon.


   4.   I found a screen with T珊1ny Grays information, including street address; date ofbirth;

   SOCial security number; Phone numbers; email; emPIoyer infomation; and total monthly income;
   Additiona11y, Promax had infomation regarding the vehicle Tiffany Grays was interested in
   PurChasing and trade vehicle information.


   5.   Promax had notes for O4/06/18 and O7/1 1/18 related to Ti熊my Grays.


   6.   All sale documents that would have been generated through Promax were printed off at

   the time Ms. Grays attempted to purchase a vehicle on March 17, 2018, and provided as part of
   Defendants Initial DiscIosures.

   7.   Promax does not have a rollback category for customers who took delivery ofa vehicle,
   but did not purchase the vehicle.
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     8.    Unless I haYe the customers nalne.白1▼Ould not be ablc to Iocate deal docしImentS
     rcgardinきa ro蝿ack. ifin fact thcrc     'aS a rO】lback.



     9.    Pl・OmaX and血tO Marrs Website do no‡ arci証e or rctain Tchide im′entOry after the

     ¥′ehide is sold or融場裏l Oul証n鴫111or)         . Thus. Åuto Mart does not ha、l'e any arChi融
      in氏)matior亘ncluding ad、    ertisements. for the賄tsubishi Ms     G「a}S貧SSeふ庇喜好
     Priorto March 17. 2019.
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                                     )ss.
     COUNTY OF ARÅPÅHOE )




     M)・
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                                  CERTIFICATE OF SERViCE

          I hereby certify that on November 12, 2019, I electronically filed Defendants A餌davit of
   Dan Ramirez with the Clerk ofCourt using the CM個CF system. I hereby certify that I have
   served a true and correct copy ofthe foregoing to the following in the same manner, m
   accordance with the Federal Rules of Civil Procedure and the Local Rules ofthis Court and
   mailed a copy postage, PrePaid by, United States mail and emailed a copy to‥


   Tiffany Grays
   P.0. Box 472322
   Aurora, Co 80013
   legalgrays@gmail. com



                                                              s/Wes Olivas
